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                    IN THE UNITED STATES DISTRICT COURT   .
                                                                            STRICT COUR T
                   FOR THE SOUTHERN DISTRICT OF GEORGIA U
                             BRUNSWICK DIVISIO N
                                                                            km   -8P2 0

BILLY GUYTON, SR . ,
                   Petitioner,                        CIVIL ACTION NO . : CV205-23 3

            V.

UNITED STATES OF AMERICA ,                            (Case No . : CR297-026 )

                   Respondent.


                                       ORDE R




      Petitioner's Motion for Transcripts at no charge to him is DENIED .

      SO ORDERED , this f dda"y of January, 2007 .




                                                  MES E . GRAHAM
                                                 NITED STATES MAGISTRATE JUDGE
